           Case 2:20-cv-03822-CFK Document 31 Filed 12/08/20 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ZACHARY GREENBERG,                            :     CIVIL ACTION
       Plaintiff,                             :
                                              :
      v.                                      :     No. 20-3822
                                              :
JAMES C. HAGGERTY, in his official            :
capacity as Board Chair of The                :
Disciplinary Board of the Supreme             :
Court of Pennsylvania, et al.,                :
             Defendants.                      :

                                      ORDER

      AND NOW, this 7th day of December 2020, upon consideration of

Plaintiff’s Motion for Preliminary Injunction (ECF No. 16), Defendants’ response

thereto (ECF No. 24), the parties’ Stipulated List of Facts for Purposes of

Preliminary Injunction Motion (ECF No. 21), and the oral argument held on

November 13, 2020 (ECF No. 26), it is hereby ORDERED as follows:

   1. Plaintiff’s Motion for Preliminary Injunction (ECF No. 16) is GRANTED

      for the reasons stated in the accompanying Memorandum Opinion;

   2. Defendants are PRELIMINARILY ENJOINED from enforcing

      Pennsylvania Rule of Professional Conduct 8.4(g);

   3. This preliminary injunction is immediately effective upon the issuance of

      this Order;




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     Case 2:20-cv-03822-CFK Document 31 Filed 12/08/20 Page 2 of 2




4. Plaintiff shall not be required to post a bond pursuant to Federal Rule of

   Civil Procedure 65(c), as both parties agree no bond is necessary and the

   circumstances of this case represent an instance warranting an exception to

   the bond requirement of Rule 65(c). See ECF No. 21 at ¶ 50 (“The

   Defendants bear no risk of financial loss if they are wrongfully enjoined in

   this case.”)


                                                 BY THE COURT:

                                                 /s/ Chad F. Kenney

                                                 CHAD F. KENNEY, JUDGE




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